                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                        Case No. 19-CR-127

DONALD A. STENSON and
JOHN BURGDORFF,

                            Defendants.


    ORDER REGARDING USE AND DISCLOSURE OF DISCOVERY
                      MATERIALS


       Before the court is the motion of the United States of America for a protective order

regulating the dissemination of discovery materials. (ECF No. 31.) Counsel for defendant

Donald Stenson has not responded, and counsel for John Burgdorff indicated he does not

object to the motion (ECF No. 35).

       Upon the motion of the United States of America, by its attorneys, Matthew D.

Krueger, United States Attorney, and Megan J. Paulson, Assistant United States Attorney

for said district, and pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure,




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   IT IS ORDERED THAT:

1. Defense counsel will be provided with a single copy of the discovery materials.

   Said materials may mask the identification of certain cooperating witnesses, as

   well as the addresses, telephone numbers, and other identifying information

   relative to those persons. As additional materials become available, and/or it

   becomes appropriate for the identity of certain persons to be disclosed, defense

   counsel will be notified by the United States Attorney's Office.

2. Defense counsel may make copies of the discovery materials as necessary to

   prepare the defense of the case. All discovery materials, including necessary

   copies, shall remain under the control of defense counsel. Discovery materials,

   while in the custody and control of defense counsel, may be reviewed by the

   defendant, licensed investigators employed by the defense attorney, experts

   working with defense counsel, and defense counsel’s support staff and may only

   share them as needed to provide a defense for the defendant in this case, including

   any direct appeal. Defense counsel may use the discovery materials to question or

   prepare potential witnesses, including showing the materials to such witnesses,

   but shall not allow such witnesses to retain copies of any of the discovery

   materials.




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3. Prior to disclosing any discovery materials to any member of the defense team,

   defense counsel will inform persons receiving discovery of the disclosure

   limitations of this protective order.

4. Copies of the discovery materials filed with the court must be filed under seal to

   retain the confidential nature of the materials unless consent to filing in the public

   record is obtained from an attorney for the government.

5. Should the parties wish to attach any discovery materials to any pleading filed

   with the court, those discovery materials shall be filed under seal. Similarly, the

   identities of confidential informants or alleged victims will not be identified in

   public pleadings or pretrial hearings without authorization of the court. During

   all pretrial proceedings and pretrial filings, the parties shall identify and address

   the alleged victims and witnesses by pseudonymous initials (e.g., AV-1).

6. Within ninety (90) days of the conclusion of the trial (or any direct appeal

   therefrom), defense counsel and the defendants shall return all discovery materials

   to the government, along with all copies thereof, or cause such discovery materials

   and copies to be destroyed, and certify their destruction.

7. The government shall make arrangements with any and all institutions where the

   defendants may be held in federal custody so that a sub-set of discovery materials

   can be maintained at each institution for inspection by the defendants. Because of

   the sensitive nature of the discovery in this matter, which includes a significant



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   volume of sensitive information about victims and witnesses as well as sexually

   explicit videos and photographs, the possession of which would violate the rules

   of the institution, the government will provide the defendants with those

   discovery materials which do not include sensitive victim/witness personal

   information and/or sexually explicit photographs or videos or large quantities of

   personal identification information. The defendants are prohibited from copying

   any of the discovery materials or maintaining personal copies of any such

   materials, and shall be prohibited from transporting any of these materials to their

   cellblocks.   The government shall keep defense counsel informed as to the

   materials provided only to counsel and not to the institution at which the

   defendants are located. To the extent defense counsel believes any material not

   provided to defendants at the institution where defendants are located, defense

   counsel will so inform the government and the parties will work together to

   address the issue in a way that allows defendants to adequately prepare their

   defense while safeguarding the personal and sensitive information of the victims

   and witnesses in this matter. Any notes taken by the defendants regarding the

   discovery materials can only be shared by the defendants with their attorneys.

8. To the extent that the discovery materials include grand jury material, the

   government will disclose them pursuant to the local rule regarding such

   disclosure.



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9. The restrictions in this stipulation and order shall remain in effect until further

   order of the Court or by written agreement of the parties.

10. The defendants may seek relief from these protective provisions as to a particular

   item or items of discovery by filing a motion with the Court under seal stating the

   need and seeking permission to do so. No disclosure of the item(s) shall be made

   until the Court so permits. The government will be provided with notice of the

   motion and be granted an opportunity to respond before any such order is entered.

   SO ORDERED.

   Dated at Milwaukee, Wisconsin this 2nd day of January, 2020.



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                                            WILLIAM E. DUFFIN
                                            U.S. Magistrate Judge




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